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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR131
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
BENJAMIN SUKUP,                                    )
                                                   )
                      Defendant.                   )


       This matter is before the court on the motion of James R. Kozel to withdraw as CJA
court appointed counsel for the defendant, Benjamin Sukup (Sukup) (Filing No. 54). Since
retained counsel, Clarence E. Mock, III, has entered an appearance for Sukup (Filing No. 41)
and has represented Sukup in hearings before the court, Mr. Kozel’s motion to withdraw
(Filing No. 54) is granted. Withdrawing counsel shall submit his CJA 20 voucher to the Office
of the Federal Public Defender within forty-five (45) days of this order.
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 4th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
